           Case
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 1                                                            The Honorable Robert S. Lasnik
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 5
 6                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7
                                    AT SEATTLE
 8
      UNITED STATES OF AMERICA,                 NO. CR15-043RSL
 9
                               Plaintiff,
10                                              ORDER GRANTING UNITED STATES’
                     v.                         MOTION FOR LEAVE TO FILE SURREPLY
11
                                                IN OPPOSITION TO DEFENDANT’S
12    CRISTOBAL ORTIZ,
                                                MOTION FOR COMPASSIONATE RELEASE
                               Defendant.       (DKT. 175)
13
14
15        The Court, having reviewed the United States’ Motion for Leave to File Surreply in
16 Opposition to Defendant’s Motion for Compassionate Release (Dkt. 175) (the “Motion for
17 Compassionate Release”), enters the following Order:
18        IT IS HEREBY ORDERED that leave is GRANTED. The United States may file a
19 surreply to Defendant’s Motion for Compassionate Release (Dkt. 175).
20                     23rd
          DATED this ________day of September,
                                          ber, 2020.
21
22
23                                                HON. ROBERT S. LASNIK
                                                  United States District Judge
24 Presented by:
25
   s/ Karyn S. Johnson
26 KARYN S. JOHNSON
27 Assistant United States Attorney
28



     UNITED STATES’ MOTION FOR LEAVE TO FILE SURREPLY - 1                  UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     U.S. v. Ortiz; CR15-043RSL                                           SEATTLE, WASHINGTON 98101-1271
                                                                                   (206) 553-7970
